                                                                           Motion GRANTED. The
                                                                           February 4, 2013 sentencing
                                                                           is CONTINUED to FEBRUARY
                                                                           8, 2013 at 4:30 p.m.
                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



UNITED STATES OF AMERICA                           ]
                                                   ]
v.                                                 ]         No. 3:11-00082-8
                                                   ]         JUDGE TRAUGER
JAMES COFFEY                                       ]



                   MOTION TO CONTINUE SENTENCING HEARING

       Comes now the defendant, James Coffey, by and through counsel and hereby requests

that this Honorable Court continue his sentencing hearing from Monday, February 4, 2013

(Docket No. 1230) to Friday, February 8, 2013 at 4:30 p.m.

       In support of this motion, Mr. Coffey submits as follows:

       Mr. Coffey is currently scheduled for a sentencing hearing on February 4, 2013 at 3:30

p.m. (Docket No. 1230).      Counsel for the government is Mr. Sunny Koshy. Mr. Koshy is

currently in a jury trial and it is anticipated that he will be engaged in that trial on Monday,

February 4, 2013. Mr. Koshy’s presence is necessary at Mr. Coffey’s sentencing hearing. Mr.

Koshy will not be in trial on Fridays.

       The parties have conferred and all parties are available on Friday, February 8, 2013 at

4:30 p.m. to conduct Mr. Coffey’s sentencing hearing.     Should this Court need additional dates,

the parties would suggest subsequent Friday afternoons.




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       Undersigned counsel has been in contact with the government about the instant motion;

the government has no objection.

       Based upon the foregoing, Mr. Coffey requests that this Court continue his February 4,

2013 sentencing hearing to a convenient date, possibly Friday, February 8, 2013 at 4:30 p.m. if

the Court’s calendar has availability.

                                             Respectfully submitted,


                                             ___s/ Jodie A. Bell___________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Motion was filed
electronically and served on Assistant U.S. Attorney Sunny Koshy, Suite A-961, 110 Ninth
Avenue, South, Nashville, Tennessee 37203.

       This the 30th day of January, 2013.

                                             /s/ Jodie A. Bell
                                             JODIE A. BELL




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